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 1                             CERTIFICATE OF SERVICE

 2        I, Stephanie Ascencio, declare:

 3        That I am a citizen of the United States and a resident of or
 4   employed in Riverside County, California; that my business address
 5
     is the Office of United States Attorney, 3403 Tenth Street, Suite
 6
     200, Riverside, California 92501; that I am over the age of 18; and
 7
     that I am not a party to the above-titled action;
 8
          That I am employed by the United States Attorney for the
 9

10   Central District of California, who is a member of the Bar of the

11   United States District Court for the Central District of California,
12   at whose direction I served a copy of:        PLEA AGREEMENT FOR DEFENDANT
13
     PAUL JOHN GOLLOGLY
14

15       Placed in a closed envelope            Placed in a sealed envelope
         for collection and inter-              for collection and mailing
16       office delivery, addressed as          via United States mail,
         follows:                               addressed as follows:
17

18       By hand delivery, addressed            By email delivery, as
         as follows:                            follows: SEE ATTACHED
19

20
         By messenger, as follows:              By Federal Express, as
21                                              follows:

22
          This Certificate is executed on September 1, 2023, in
23
     Riverside, California.     I certify under penalty of perjury that the
24
     foregoing is true and correct.
25

26
                                              /s/ Stephanie Ascencio
27                                           Stephanie Ascencio
                                             Legal Assistant
28
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 1                                    ATTACHMENT

 2   Brian Gurwitz
     1422 Edinger Ave. #100
 3   Tustin, CA 92780
     brian@gurwitzlaw.com
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